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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : Case No. 21-mj-71-2 (ZMF)
                                            :
LISA MARIE EISENHART,                       :
     Defendant.                             :


                                   TRANSPORT ORDER

       Having considered the United States’ Motion, communicated via e-mail, to have the

defendant Lisa Marie Eisenhart transported from the Middle District of Tennessee to the District

of Columbia for further proceedings on the Complaint filed against her, it is hereby ORDERED

       That the United States Marshals Service transport the defendant forthwith from the

Middle District of Tennessee to the District of Columbia for further proceedings in this matter.




       DATE: January 26, 2021
                                            BERYL A. HOWELL
                                            CHIEF JUDGE, UNITED STATES DISTRICT
                                            COURT FOR THE DISTRICT OF COLUMBIA




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